Case 5:18-cv-00920-G Document 1-12 Filed 09/18/18 Page 1 of 7




             Exhibit 12
Case 5:18-cv-00920-G Document 1-12 Filed 09/18/18 Page 2 of 7
Case 5:18-cv-00920-G Document 1-12 Filed 09/18/18 Page 3 of 7
Case 5:18-cv-00920-G Document 1-12 Filed 09/18/18 Page 4 of 7
Case 5:18-cv-00920-G Document 1-12 Filed 09/18/18 Page 5 of 7
Case 5:18-cv-00920-G Document 1-12 Filed 09/18/18 Page 6 of 7
Case 5:18-cv-00920-G Document 1-12 Filed 09/18/18 Page 7 of 7
